Case:20-16815-JGR Doc#:227 Filed:10/26/21 Entered:10/26/21 10:02:25 Pagel of 14

Fill in this information to identify tha case:

Debtor Name Richard Weingarten

 

United States Bankruptcy Court for the: District of __ Colorado

CI Check if this is an
Case number: 20-1681 5-JGR a

 

 

 

 

 

 

 

 

amended filing
Official Form 425C
Monthly Operating Report for Smaifl Business Under Chapter 11 12/17
Month: September 2021 Date report filed: 10/25/2021
MM/DDIYYYY
Line ofbusiness: Personal NAISC cade: erin
in accordance with title 28, section 1746, of the United States Code, | declare under penalty of perjury
that { have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.
Responsible party: Richard. EN eingaten Ae
Original signature of responsible party = __ uit Leff ct
Printed name of responsible party Richard E Weingarten
Be 1. Questionnaire
Answer ali questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
Yes No N/A
if you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.
1. Did the business operate during the entire reporting period? Q Q (a
2. Do you plan to continue to aperate the business next month? Q QO @
3. Have you paid all of your bills on time? aw C} Q
4, Did you pay your employees on time? Oo oO @
5. Have you deposited all the receipts for your business into debtor in possession (DIP) accounts? Q Q
6. Have you timely filed your tax returns and paid all of your taxes? a Q Q
7, Have you timely filed ail other required government filings? a Q Q
8. Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator? Q Q |
9. Have you timely paid all of your insurance premiums? 4 Qo a

If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
10. Do you have any bank accounts open other than the DIP accounts?
11. Have you sold any assets other than inventory?
12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?
13. Did any insurance company cancel your policy?
14. Did you have any unusual or significant unanticipated expenses?

15, Have you borrowed money from anyone or has anyone made any payments on your behalf?

OOooocang
Os &k& RE
SOOoOoagon

16. Has anyone made an investment in your business?

Official Form 4256 Monthly Operating Report tor Small Business Under Chapter 14 page i
Case:20-16815-JGR Doc#:227 Filed:10/26/21 Entered:10/26/21 10:02:25 Page2 of 14

Debtor Name Richard Weingarten Case number 20-16815-JGR

 

 

17. Have you paid any bills you owed before you filed bankruptcy?

og
a s
og

18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?

 

i 2. Summary of Cash Activity for All Accounts

 

19. Total opening balance of all accounts 7281.57
This amount must equal what you reported as the cash on hand at the end of the month in the previous $_ie

month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

20. Total cash receipts

Attach a listing of all cash received for the month and label it Exhibit C. Include all
cash received even if you have not deposited it at the bank, collections on
receivables, credit card deposits, cash received from other parties, or loans, gifts, or
payments made by other parties on your behalf. De not attach bank statements in
lieu of Exhibit C.

Report the total from Exhibit C here. $8,324.79

21. Total cash disbursements

Attach a listing of all payments you made in the month and label it Exhibit D. List the
date paid, payee, purpose, and amount. include all cash payments, debit card
transactions, checks issued even if they have not cleared the bank, outstanding
checks issued before the bankruptcy was filed that were allowed to clear this month,
and payments made by other parties on your behalf. Do not attach bank statements

in tieu of Exhibit D. =5 10,621 48
Report the total from Exhibit D here.

22. Net cash flow

Subtract line 21 from line 20 and report the result here.
This amount may be different from what you may have calculated as net profit.

+ $_ -2,296.69

23. Cash on hand at the end of the month
Add line 22 + line 19, Report the result here.
P = 34,984.88
Report this figure as the cash on hand at the beginning of the month on your next operating report. TT

This amount may not match your bank account balance because you may have outstanding checks that
have not cleared the bank or deposits in transit.

 

| Unpaid Bills

 

Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

  

24. Total payables g 14,263.88 —

(Accrued fees to counsel

 

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11 page 2
Case:20-16815-JGR Doc#:227 Filed:10/26/21 Entered:10/26/21 10:02:25 Page3 of 14

Debtor Name Richard Weingarten . Case number 20-16815-JGR

ae -. Money Owed to You

Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
Identify who owes you money, how much is owed, and when payment is due. Report the total from

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Exhibit F here.
25. Total receivables $ 0.00
(Exhibit F)
a 5. Employees
26. What was the number of employees when the case was filed?
27. What is the number of employees as of the date of this monthly report?
ei «. Professional Fees
28. How much have you paid this month in professional fees related to this bankruptcy case? $___ 4,500.00
29. How much have you paid in professional fees related to this bankruptcy case since the case was filed? $ __5?,360.00
30. How much have you paid this month in other professional fees? $ ___9.00
31. How much have you paid in total other professional fees since filing the case? $ 2,350.00
F | 7. Projections
Compare your actual cash receipts and disbursements to what you projected in the previous month.
Projected figures in the first month should match those provided at the initial debtor interview, if any.
Column A Pe & Column B : a ete 2 Column c:
“Projected: == — ~Actual =~. = = Difference me es
Copy lines 35-37 from. Copylines'20-22.0f . Subtract Column B
the previous month's. this report. from Column As 8
report. os. eee mae eee ge Ca ee
32. Cash receipts ¢ 7,228.00 — ¢ 8,324.79 = ¢ 1,096.79
33. Cash disbursements g 5,215.00 — g 10,621.48 = ¢ -5,406.58
34. Net cash flow g 2,013.00 —1¢  -2,296.69 ¢ _-4,309.69
35. Total projected cash receipts for the next month: $ —B8,952.00
36. Total projected cash disbursements for the next month: =¢ 6,447.00
37. Total projected net cash flow for the next month: =¢5 2,505.00

 

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11 page 3
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Debtor Name Richard Weingarten Case number 20-16815-JGR

i :. Additional Information

 

If available, check the box to the left and attach copies of the following documents.

(4 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).
LJ 39. Bank reconciliation reports for each account.

(] 40. Financial reports such as an income statement (profit & loss) and/or balance sheet.

LJ 41. Budget, projection, or forecast reports.

[CJ 42. Project, job costing, or work-in-progress reports.

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11 page 4
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Case:20-16815-JGR Doc#:227 Filed:10/26/21 Entered:10/26/21 10:02:25 Page6 of 14

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Wells Fargo’ Preferred Checking

September 30, 2021 m Page 1 of 6

RICHARD E WEINGARTEN
DEBTOR iN POSSESSION
CH11 CASE #20-16815 (CO)
1133 NORTHRIDGE DR
ERIE CO 80516-9053

 

 

Questions?

Available by phone 24 hours a day, 7 days a week:
We accept all relay calls, including 711

1-800-TO-WELLS (1-800-869-3557)
En espafiol: 1-877-727-2932

Online: wellsfargo.com

Write: Wells Fargo Bank, N.A. (163)
P.O. Box 6995
Portland, OR 97228-6995

 

You and Wells Fargo

Thank you for being a loyal Wells Fargo customer. We value your trust in our
company ard look forward to continuing to serve you with your financial needs.

Account options

A check mark in the box indicates you have these
convenient services with your account(s). Go to
wellsfargo.com or call the number above if you have
questions or if you would like to add new services.

Online Banking Direct Deposit
Online Bill Pay [_] Auto Transfer/Payment E]
Online Statements Overdraft Protection  [_]
Mobile Banking [-] Debit Card

My Spending Report Overdraft Service

IMPORTANT ACCOUNT INFORMATION

Revised USPS service standards effective 10/1/21

Effective October 1, 2021, the United States Postal Service (USPS) has revised its service standards for certain First-Class Mail items,
resulting in a delivery window of up to five days. Please note this may delay your receipt of mail from us and our receipt of mail from

you. Please take this change into account when mailing items to us via USPS.

Consider signing into Wells Fargo Online® for quicker access to your account information.

 

Other Wells Fargo Benefits

Help take control of your finances with a Wells Fargo Personal Loan.

Whether it's managing debt, making a large purchase, improving your home, or paying for unexpected expenses, a personal loan may
be able to help. See personalized rates and payments in minutes with no impact to your credit score, before you apply.

(163)
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Go to weilsfargo.com/personalloan or call 1-855-324-9370, Monday through Friday, from 8:00 a.m. to 7:00 p.m. Central Time.

 

Statement period activity summary

 

Beginning balance on 9/1 $7,281.57
Deposits/Additions 8,324.79
Withdrawals/Subtractions - 10,621.48
Ending balance on 9/30 $4,984.88

Overdraft Protection

Account number: ~' “86730

RICHARD E WEINGARTEN
DEBTOR IN POSSESSION
CH11 CASE #20-16815 (CO)

Colorado account terms and conditions apply

For Direct Deposit use
Routing Number (RTN): 102000076

This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.

 

Interest summary

Interest paid this statement $0.05
Average collected balance $5,889.21
Annual percentage yield earned 0.01%
Interest earned this statement period $0.05
Interest paid this year $1.05

 

Transaction history

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Check Deposits/ Withdrawals/ Ending daily

Date Number Description Additions Subtractions balance

9/1 Fidelity Investm Fidelity xxxxx3562 Weingarten, Richard E 1,092.32

9/1 Purchase authorized on 09/01 King Soopers #01 2355 W. 18.97 8,354.92
Broomfield CO P00381244452856359 Card 1176

9/2 Purchase authorized on 09/01 Chipotle 0780 Loveland CO 17.25
$581244664390886 Card 1176

9/2 Bill Pay US Bank Consumer Loan Mobile xxxxx44263 on 09-02 468.81

9/2 Quicken Loans Mig Pymts 090121 3362880596 Richard E 3,102.11 4,766.75
Weingarten

9/3 Karen Weingarten lb A2A 210902 0005 Karen Weingarten 500.00

9/3 Bill Pay Royal Crest Dairy Mobile x08790 on 09-03 28.88 5,237.87

oF Purchase authorized on 09/04 Front Range Gun Ci Loveland CO 9.37
$461247692523044 Card 1176

o/7 Purchase authorized on 09/04 Front Range Gun Cl Loveland CO 16.01
$301247745758715 Card 1176

o/7 Purchase authorized on 09/05 King Soopers #07 1891 Sta Erie CO 39.61
P00461 248426088816 Card 1176

O/7 Purchase authorized on 09/05 Wal-Mart Super Center Loveland 23.59
CO P00000000079889530 Card 1176

9/7 Purchase authorized on 09/06 King Scop 1891 State H Erie CO 24.68
P0000000007 1574881 Card 1176

9/7 Comcast 8497606 xxxxx8338 210903 3071245 Richard 155.73 4,968.88
*Weingarten

9/8 Purchase authorized on 09/07 Front Range Gun C! Loveland CO 14.94
$581250721695446 Card 1176

9/8 Town of Erie Uti Payment 210907 999000000026954 Richard E 207.34
Weingarten

9/8 Xcel Energy-PSCO Online Pmt 210908 Ckf937829388PO0S 111.80 4,634.80

Weingarten,Richard
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September 30, 2021

a Page 3 of 6

 

 

Transaction history (continued)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Check Deposits/ Withdrawals/ Ending daily

Date Number Description Additions Subtractions balance

o/9 Purchase authorized on 09/07 Hearing Healthcare 303-776-8748 200.00
CO $381250619155879 Card 1176

9/9 Purchase authorized on 09/07 Firehouse Subs 128 Loveland CO 12.00 4,422.80
$301250636046309 Card 1176

9/13 Purchase authorized on 09/11 Front Range Gun Cl Loveland CO 1.00
$581254759604690 Card 1176

9/13 Purchase authorized on 09/11 E 470 Express Toll 303-5373470 CO 7.42
$30 1255099592692 Card 1176

9/13 Purchase authorized on 09/13 King Scop 2355 W. 136T 19.48
Broomfield CO P00000000281645033 Card 1176

9/13 Xcel Energy-PSCO Online Pmt 210913 Ckf937829388POS 36.50 4,358.40
Weingarten,Richard

9/14 Artech LLC Dir Dep 210903 127960 Weingarten,Richard E 3,131.72

9/14 Front Range Gun Payroll 210914 P6376520 Richard Weingarten 381.28

9/14 Purchase authorized on 09/14 King Soopers #07 2395 W. 46.28 7,825.12
Broomfield CO P00381257430925901 Card 1176

9/15 United Power, Inc Elec Pmt 0000937101 Richard Weingarten 98.00 7,727.12

9/16 Purchase authorized on 09/13 Zap*Zappos.Com 800-927-7671 114.02
NV S381256849973196 Card 1176

9/16 Purchase authorized on 09/15 Front Range Gun Cl Loveland CO 1.00 7,612.10
$461258709079093 Card 1176

9/17 Purchase authorized on 09/15 Firehouse Subs 128 Loveland CO 12.26
$461258647449389 Card 1176

9N7 Purchase authorized on 09/15 Chick-Fil-A #02061 Thornton CO 9.71
$38 1259108963734 Card 1176

97 Purchase authorized on 09/17 King Soopers #07 2395 W. 34.16 7,555.97
Broomfield CO P00461260430302345 Card 1176

9/20 Recurring Payment authorized on 09/17 Xfinity Mobile 47.85
888-936-4968 PA S581260529436402 Card 1176

9/20 Purchase authorized on 09/17 Amzn Mkip US*2G5R2 15.50
Amzn.Com/Bill WA $581260688267659 Card 1176

9/20 Purchase authorized on 09/17 Carpartscom * 800-913-6127 CA 105.83
$461260692878614 Card 1176

9/20 Purchase authorized on 09/18 Cracker Barrel #27 Loveland CO 28.54
$38 1261492900843 Card 1176

9/20 Purchase authorized on 09/18 Front Range Gun Cl! Loveland CO 1.00
$581261756666906 Card 1176

9/20 Purchase authorized on 09/19 King Soopers #07 1891 Sta Erie CO - 11.51
P00301262421013968 Card 1176

9/20 Purchase authorized on 09/19 WM Superc Wal-Mart Sup 31.64
Loveland CO P00000000134949010 Card 1176

9/20 Recurring Payment authorized on 09/19 Progressive Ins 205.50 7,108.60
800-776-4737 OH S301263232549303 Card 1176

9/21 Purchase authorized on 09/20 Flying B Bar Ranch 720-326-9506 163.29
CO $381263577458437 Card 1176

9/21 Purchase authorized on 09/21 Costco Whse #1178 Timnath CO 44.86 6,900.45
P00301264784356139 Card 1176

9/22 Purchase authorized on 09/20 Five Guys CO1591 Q Broomfield 22.73
CO 8381263847463796 Card 1176

9/22 Recurring Payment authorized on 09/21 Netflix.Com Netflix.cCom 17.99
CA $581264462172596 Card 1176

9/22 Purchase authorized on 09/22 King Soopers #07 1891 Sta Erie CO 45.12 6,814.61
P00581265415575198 Card 1176

9/23 Purchase authorized on 09/22 Front Range Gun Cl Loveland CO 1.00 6,813.61
$301265638052853 Card 1176

9/24 Purchase authorized on 09/22 Chick-Fil-A #02061 Thornton CO 10.39 6,803.22
$301266050469731 Card 1176

9/27 Purchase authorized on 09/24 Front Range Gun Cl Loveland CO 4.00
$381267764168531 Card 1176

9/27 Purchase authorized on 09/25 Cracker Barrel # 5800 McW 29.05

Loveland CO P00581268497417219 Card 1176
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Transaction history (continued)

 

 

 

 

 

 

 

 

 

 

 

 

 

Check Deposits/ Withdrawals/ Ending daily
Date Number Description Additions Subtractions balance
9/27 Purchase authorized on 09/26 King Soopers #07 1891 Sta Erie CO 55.67
. P00581 269432234856 Card 1176
9/27 Purchase authorized on 09/27 CO Motor Veh Serv Emv Denver 158.63
CO P00000000477873277 Card 1176
9/27 Purchase authorized on 09/27 King Scop 1891 State H Erie CO 17.57
P00000000589810048 Card 1176
9/27 125 Check 4,500.00 2,041.30
9/28 Front Range Gun Payroll 210928 P6517797 Richard Weingarten 381.26
9/28 Artech LLC Dir Dep 210917 127960 Weingarten,Richard E 2,838.16
9/28 Purchase authorized on 09/27 Asics Thornton CO 119.89
: $461270809724447 Card 1176
9/28 Purchase authorized on 09/27 Walgreens #12864 Erie CO 92.48 5,048.35
$581271009748200 Card 1176
9/29 Purchase authorized on 09/29 Kum&Go 0995 Loveland Loveland 51.90 4,996.45
CO P00301272819754842 Card 1176
9/30 Purchase authorized on 09/28 Firehouse Subs 128 Loveland CO 11.62
$581271694569258 Card 1176
9/30 Interest Payment 0.05 4,984.88
Ending balance on 9/30 4,984.88
Totals $8,324.79 $10,621.48

The Ending Daily Balance does not refiect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
transactions posted. if you had insufficient available funds when a transaction posted, fees may have been assessed.

Summary of checks written (checks listed are also displayed in the preceding Transaction history)

Number Date Amount
125 9/27 4,500.00

 

Monthly service fee summary

For a complete list of fees and detailed account information, see the disclosures applicable to your account or talk to a banker. Go to wellsfargo.com/feefaq for a
link to these dacuments, and answers to common monthly service fee questions.

 

Fee period 09/01/2021 - 09/30/2021 Standard monthly service fee $15.00 You paid $0.00
How to avoid the monthly service fee Minimum required This fee period
Have any ONE of the following account requirements
Total amount of qualifying direct deposits $1,000.00 $8,324.74 7]
* Alinked Wells Fargo home mortgage 1 on
+ Combined balance in linked accounts, which may include $10,000.00 $2,041.30

- Minimum daily balance in personal checking, savings, Time Accounts (CDs) and
FDIC-insured Retirement accounts
JDD

IMPORTANT ACCOUNT INFORMATION |

We are updating the Deposit Account Agreement ("Agreement") dated May 28, 2021. Effective August 9, 2021, in the section of the
Agreement titled "Closing Accounts,” the subsection "Closing your account if the balance is zero” is deleted and replaced with the

following:
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Accounts with a zero balance will continue to be charged applicable fees (like the monthly service fee) until you request to close
your account. We may close an account (except analyzed business accounts) with a Zero balance on the fee period ending date or at
month end without prior notification to you. Once an account is closed (either by you or us), no fees will be assessed on the account.

- To prevent closure by us, an account with a zero balance must have a qualifying transaction posted within the last two months of the
most recent fee period ending date. IOLTA and RETA accounts require a qualifying transaction within ten months of the most recent
fee period ending date.

- Examples of qualifying transactions are deposits and withdrawals made ata branch, ATM, online, mobile, or via telephone; one-time
and recurring transfers made at a branch, ATM, online, mobile, or via telephone; automatic or electronic deposits, such as from payroll
or government benefits; automatic or electronic payments, including Bill Pay; one-time and recurring purchases or payments made
using a card or mobile device; and checks paid from the account. IOLTA and RETA accounts are not eligible for ATM cards or debit
cards.

- Bank-originaied transactions, like monthly service or other fees, are not considered qualifying transactions that will prevent closure of

an account with a zero balance.

All other aspects of the Agreement remain the same. If there is a conflict between the updated language above and the Agreement,
the updated language will control. The most recent Deposit Account Agreement and related addenda are located online at
wellsfargo.com/ontine-banking/consumer-account-fees.

Other Wells Fargo Benefits

Effective December 1, 2021, there is no outgoing wire fee when customers send an outgoing international wire in foreign currency
using the Wells Fargo Mobile” app or Wells Fargo Online”. Otherwise, the outgoing international foreign currency wire fee is $35.

In addition to the transfer fee, Wells Fargo makes money when it converts one currency to another currency for you. For additional
information related to Wires and foreign currency, please see wellsfargo.com/online-banking/transfers/online-wires-terms-upcoming.

Can we reach you when it's really important?

Don't miss suspicious-activity alerts and critical account information. Please make sure your contact information is current by:

- Signing on ‘o wellsfargo.com or the Wells Fargo Mobile® app and navigating to the Update Contact Information page via My Profile
- Contacting the phone number at the top of your statement

- Visiting a branch
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Worksheet to balance your account

Follow the steps below to reconcile your statement balance with your
account register balance. Be sure that your register shows any interest
paid into your account and any service charges, automatic payments or
ATM transactions withdrawn from your account during this statement

period.
[A] Enter the ending balance on this statement.

List outstanding deposits and other
credits to your account that do not appear an
this statement. Enter the total in the column
to the right.

    

Amount

     

Description

   

Total | $ |

   

[c] Add [Al and to calculate the subtotal.

[D] List outstanding checks, withdrawals, and
other debits to your account that do not appear
on this statement. Enter the total .in the column
to the right.

Number/Description Amount

Total

[E] Subtract [D] from [C]to calculate the
adjusted ending balance. This amount should be
the same as the current balance shown in your
register.

 

a

 

General statement policies for Wells Fargo Bank

g To dispute or report inaccuracies in Information we have furnished to a
Consumer Reporting Agency about your accounts. You have the right to
dispute the accuracy of information that Wells Fargo Bank, N.A. has
furnished to a consumer reporting agency by writing to us at Overdraft
Collection and Recovery, P.O. Box 5058, Portland, OR 97208-5058. Please
describe the specific information that is inaccurate or in dispute and the
basis for the dispute along with supporting documentation. If you believe
the information furnished is the result of identity theft, please provide us
with an identity theft report.

m Incase of errors or questions about your electronic transfers,
telephone us at the number printed on the front of this statement or write
us at Wells Fargo Bank, P.O. Box 6995, Portland, OR 97228-6995 as soon as
you can, if you think your statement or receipt is wrong or if you need more
information about a transfer on the statement or receipt. We must hear
from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

1. Tell us your name and account number (if any).

2. Describe the error or the transfer you are unsure about, and explain as
clearly as you can why you believe it is an error or why you need more
information.

3. Tell us the dollar amount of the suspected error.

We will investigate your complaint and will correct any error promptly. If
we take more than 10 business days to do this, we will credit your account
for the amount you think is in error, so that you will have the use of the
money during the time it takes us to complete our investigation.

 

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